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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA

                                   CASE NO: 8:19-cv-00728-WFJ-CPT

TERRI CARFAGNO,
individually and on behalf of all
others similarly situated,                                        CLASS ACTION

          Plaintiff,                                              JURY TRIAL DEMANDED

v.

MONEY MAP PRESS, LLC,

      Defendant.
__________________________________/

                              AMENDED CLASS ACTION COMPLAINT

          Plaintiff Terri Carfagno brings this class action against Defendant Money Map Press, LLC

(“Defendant”) and alleges as follows upon personal knowledge as to herself and her own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by her attorneys.

                                       NATURE OF THE ACTION

          1.       This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 et seq., (“TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

          2.       Defendant claims to give their customers “access to a team of investment experts – with

more than 250 years of combined experience – who work to uncover these global trends well before the

mainstream media even takes notice.”1

          3.       Defendant sells literary subscriptions to consumers which include self-help financial

courses and documents.


1
    https://moneymappress.com/visitors/about/

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        4.      Defendant engages in unsolicited telemarketing directed towards prospective customers

with no regard for consumers’ privacy rights.

        5.      Defendant’s telemarketing consists of sending text messages to consumers

soliciting them to purchase its goods and/or services.

        6.      Defendant caused thousands of unsolicited text messages to be sent to the cellular

telephones of Plaintiff and Class Members, causing them injuries, including invasion of their privacy,

aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

        7.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct.

Plaintiff also seeks statutory damages on behalf of herself and Class Members, as defined below, and

any other available legal or equitable remedies resulting from the illegal actions of Defendant.

                                    JURISDICTION AND VENUE

        8.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

which will result in at least one Class member belonging to a different state than Defendant. Plaintiff

seeks up to $1,500.00 in damages for each call in violation of the TCPA, which, when aggregated among

a proposed class numbering in the tens of thousands, or more, exceeds the $5,000,000.00 threshold for

federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

        9.      Venue is proper in the United States District Court for the Middle District of Florida

pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendant is deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

its services within this district thereby establishing sufficient contacts to subject it to personal

jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within this district and, on

information and belief, Defendant has sent the same text message complained of by Plaintiff to other



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individuals within this judicial district, such that some of Defendant’s acts have occurred within this

district, subjecting Defendant to jurisdiction here.

                                                PARTIES

        10.     Plaintiff is a natural person who, at all times relevant to this action, was a resident of

Sarasota County, Florida.

        11.     Defendant is a Maryland corporation with its principal address at 105 W Monument St.,

Baltimore, MD 21201. Defendant directs, markets, and provides business activities throughout the

State of Florida.

                                               THE TCPA

        12.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

227(b)(1)(A).

        13.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

        14.     The TCPA exists to prevent communications like the ones described within this

Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

        15.     In an action under the TCPA, a plaintiff must show only that the defendant “called a

number assigned to a cellular telephone service using an automatic dialing system or prerecorded

voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

F.3d 1265 (11th Cir. 2014).

        16.     The Federal Communications Commission (“FCC”) is empowered to issue rules and

regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA



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are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used.

        17.     In 2012, the FCC issued an order further restricting automated telemarketing calls,

requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules

& Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb.

15, 2012) (emphasis supplied).

        18.     To obtain express written consent for telemarketing calls, a defendant must establish

that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

disclosure’ of the consequences of providing the requested consent….and [the plaintiff] having received

this information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

        19.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

        20.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

        21.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and



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transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)); In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

WL 21517853, at *49).

          22.    The FCC has explained that calls motivated in part by the intent to sell property, goods,

or services are considered telemarketing under the TCPA.            See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

services during the call or in the future. Id.

          23.    In other words, offers “that are part of an overall marketing campaign to sell

property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

(2003).

          24.    If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

“for non-telemarketing and non-advertising calls”).

          25.    Further, the FCC has issued rulings and clarified that consumers are entitled to the same

consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (“The FCC has determined that a text

message falls within the meaning of ‘to make any call’ in 47 U.S.C. § 227(b)(1)(A)”).

          26.    With respect to standing, as recently held by the United States Court of Appeals for the

Ninth Circuit:



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                Unsolicited telemarketing phone calls or text messages, by their nature,
                invade the privacy and disturb the solitude of their recipients. A plaintiff
                alleging a violation under the TCPA “need not allege any additional
                harm beyond the one Congress has identified.”

Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037 (9th Cir. 2017) (quoting Spokeo, Inc. v.

Robins, 136 S. Ct. 1540 (2016)).

        27.     Similarly, the United States Court of Appeals for the Second Circuit recently held that

the receipt of a telemarketing or unsolicited call “demonstrates more than a bare violation and satisfies

the concrete-injury requirement for standing.” Leyse v. Lifetime Entm't Servs., LLC, Nos. 16-1133-

cv, 16-1425-cv, 2017 U.S. App. LEXIS 2607 (2d Cir. Feb. 15, 2017) (citing In re Methyl Tertiary

Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 105 (2d Cir. 2013) ("The injury-in-fact necessary

for standing need not be large; an identifiable trifle will suffice."); Golan v. Veritas Entm't, LLC, 788

F.3d 814, 819-21 (8th Cir. 2015) (holding that receipt of two brief unsolicited robocalls as voicemail

messages was sufficient to establish standing under TCPA); Palm Beach Golf Ctr.-Boca, Inc. v. John

G. Sarris, D.D.S., P.A., 781 F.3d 1245, 1252 (11th Cir. 2015) (holding that injury under similar TCPA

provision may be shown by one-minute occupation of fax machine)).

                                                 FACTS

        28.     On or about November 22, 2018, Defendant caused the following automated text

message (“First Text Message”) to be transmitted to Plaintiff’s cellular telephone number ending in

0087 (“0087 Number”):




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        29.     The First Text Message constitutes telemarketing/advertising because it promotes

Defendant’s business, goods and services.

        30.     Specifically, Defendant attempts to sell Plaintiff a subscription and/or package to its

financial courses.

        31.     Defendant makes a profit on every package and/or subscription that is purchased

through its website.

        32.     The First Text Message includes a link which leads to the following webpage (the

“Website”) where Defendant’s goods and services are marketed:




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          33.    Upon clicking the “Join Now” button, the viewer is provided the following package

and/or subscription packages for purchase:




2
    https://pro.moneymappressinfo.com/p/TGTLNC39/LTGTU926/?SID=tclick&h=true

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      34.   On or about January 15, 2019, Defendant also caused the following automated text


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 message (“Second Text Message”) to be transmitted to Plaintiff’s 0087 Number:




         35.      The Second Text Message constitutes telemarketing/advertising because it promotes

 Defendant’s business, goods and services.

         36.      Plaintiff received the subject text messages within this judicial district and, therefore,

 Defendant’s violation of the TCPA occurred within this district.

         37.      Upon information and belief, Defendant caused similar text messages to be sent to

 individuals residing within this judicial district.

         38.      Upon information and belief, Defendant owns and or operates the Website.

         39.      At no point in time did Plaintiff provide Defendant with her express consent to be

 contacted by text messages using an ATDS.

         40.      Plaintiff is the sole user of the 0087 Number.

         41.      The number used by or on behalf of Defendant (990-00) is known as a “short code,” a

 standard 5-digit code that enables Defendant to send SMS text messages en masse.

         42.      The impersonal and generic nature of Defendant’s text messages, demonstrates that

 Defendant utilized an ATDS in transmitting the messages.



 3

 https://purchases.moneymappress.com/TGTLNC39/LTGTU926/index.htm?pageNumber=2&SID=tclick&h=tr
 ue&link_source=button&vidTime=3

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         43.     To send the text messages, Defendant used a messaging platform (the “Platform”) that

 permitted Defendant to transmit thousands of automated text messages without any human

 involvement.

         44.     The Platform has the capacity to store telephone numbers, which capacity was in fact

 utilized by Defendant.

         45.     The Platform has the capacity to generate sequential numbers, which capacity was in

 fact utilized by Defendant.

         46.     The Platform has the capacity to dial numbers in sequential order, which capacity was

 in fact utilized by Defendant.

         47.     The Platform has the capacity to dial numbers from a list of numbers, which capacity

 was in fact utilized by Defendant.

         48.     The Platform has the capacity to dial numbers without human intervention, which

 capacity was in fact utilized by Defendant.

         49.     The Platform has the capacity to schedule the time and date for future transmission of

 text messages, which occurs without any human involvement.

         50.     Additionally, the Platform has an auto-reply function that results in the transmission of

 text messages to individual’s cellular telephones automatically from the system, and with no human

 intervention, in response to a keyword (e.g. “STOP”) being sent by a consumer, which function was

 also utilized by Defendant on January 23, 2019. As shown below:




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          51.    To transmit the messages at issue, the Platform automatically executed the following

 steps:

                     (1) The Platform retrieved each telephone number from a list of numbers in the

                         sequential order the numbers were listed;

                     (2) The Platform then generated each number in the sequential order listed and

                         combined each number with the content of Defendant’s message to create

                         “packets” consisting of one telephone number and the message content;

                     (3) Each packet was then transmitted in the sequential order listed to an SMS

                         aggregator, which acts an intermediary between the Platform, mobile carriers

                         (e.g. AT&T), and consumers.

                     (4) Upon receipt of each packet, the SMS aggregator transmitted each packet –

                         automatically and with no human intervention – to the respective mobile carrier

                         for the telephone number, again in the sequential order listed by

                         Defendant. Each mobile carrier then sent the message to its customer’s mobile

                         telephone.

          52.    The above execution these instructions occurred seamlessly, with no human

 intervention, and almost instantaneously. Indeed, the Platform is capable of transmitting thousands of

 text messages following the above steps in minutes, if not less.


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         53.     Further, the Platform “throttles” the transmission of the text messages depending on

 feedback it receives from the mobile carrier networks. In other words, the platform controls how

 quickly messages are transmitted depending on network congestion. The platform performs this

 throttling function automatically and does not allow a human to control the function.

         54.     The following graphic summarizes the above steps and demonstrates that the dialing of

 the text messages at issue was done by the Platform automatically and without any human intervention:




         55.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including invasion

 of her privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

 text message also inconvenienced Plaintiff and caused disruption to her daily life.

                                         CLASS ALLEGATIONS

               PROPOSED CLASS

         56.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

 herself and all others similarly situated.

         57.     Plaintiff brings this case on behalf of the below defined Class:

                      All persons within the United States who, within the four
                      years prior to the filing of this Complaint, were sent a text
                      message using the same type of equipment used to text
                      message Plaintiff, from Defendant or anyone on
                      Defendant’s behalf, to said person’s cellular telephone
                      number.

         58.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

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 know the number of members in the Class but believes the Class members number in the several

 thousands, if not more.

           NUMEROSITY

        59.      Upon information and belief, Defendant has placed automated calls to cellular telephone

 numbers belonging to thousands of consumers throughout the United States without their prior express

 consent. The members of the Class, therefore, are believed to be so numerous that joinder of all

 members is impracticable.

        60.      The exact number and identities of the Class members are unknown at this time and can

 be ascertained only through discovery. Identification of the Class members is a matter capable of

 ministerial determination from Defendants’ call records.

              COMMON QUESTIONS OF LAW AND FACT

        61.      There are numerous questions of law and fact common to the Class which predominate

 over any questions affecting only individual members of the Class. Among the questions of law and

 fact common to the Class are:

                     (1) Whether Defendant made non-emergency calls to Plaintiff and Class members’

                           cellular telephones using an ATDS;

                     (2) Whether Defendant can meet their burden of showing that they obtained prior

                           express written consent to make such calls;

                     (3) Whether Defendant’s conduct was knowing and willful;

                     (4) Whether Defendant is liable for damages, and the amount of such damages; and

                     (5) Whether Defendant should be enjoined from such conduct in the future.

        62.      The common questions in this case are capable of having common answers. If Plaintiff’s

 claim that Defendants routinely transmits text messages to telephone numbers assigned to cellular



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 telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

 being efficiently adjudicated and administered in this case.

               TYPICALITY

         63.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

 on the same factual and legal theories.

               PROTECTING THE INTERESTS OF THE CLASS MEMBERS

         64.     Plaintiff is a representative who will fully and adequately assert and protect the interests

 of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

 and will fairly and adequately protect the interests of the Class.

               SUPERIORITY

         65.     A class action is superior to all other available methods for the fair and efficient

 adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

 economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

 Class are in the millions of dollars, the individual damages incurred by each member of the Class

 resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

 lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

 and, even if every member of the Class could afford individual litigation, the court system would be

 unduly burdened by individual litigation of such cases.

         66.     The prosecution of separate actions by members of the Class would create a risk of

 establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

 one court might enjoin Defendant from performing the challenged acts, whereas another may not.

 Additionally, individual actions may be dispositive of the interests of the Class, although certain class

 members are not parties to such actions.



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                                              COUNT I
                             Violations of the TCPA, 47 U.S.C. § 227(b)
                               (On Behalf of Plaintiff and the Class)

           67.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           68.   It is a violation of the TCPA to make “any call (other than a call made for

 emergency purposes or made with the prior express consent of the called party) using any

 automatic telephone dialing system … to any telephone number assigned to a … cellular telephone

 service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

           69.   The TCPA defines an “automatic telephone dialing system” (hereinafter “ATDS”)

 as “equipment which has the capacity – (A) to store or produce telephone numbers to be called,

 using a random or sequential number generator; and (B) to dial such numbers.” Id. at § 227(a)(1).

           70.   Defendant – or third parties directed by Defendant – used equipment having the

 capacity to store telephone numbers, using a random or sequential generator, and to dial such

 numbers and/or to dial numbers from a list automatically, without human intervention, to make

 non-emergency telephone calls to the cellular telephones of Plaintiff and the other members of the

 Class.

           71.   These calls were made without regard to whether Defendant had first obtained

 express permission from the called party to make such calls. In fact, Defendant did not have prior

 express consent to call the cell phones of Plaintiff and the other members of the putative Class

 when its calls were made.

           72.   Defendant violated § 227(b)(1)(A)(iii) of the TCPA by using an automatic

 telephone dialing system to make non-emergency telephone calls to the cell phones of Plaintiff

 and the other members of the putative Class without their prior express consent.



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         73.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

 Plaintiff and the other members of the putative Class were harmed and are each entitled to a

 minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

 injunction against future calls.

         WHEREFORE, Plaintiff Terri Carfagno, on behalf of herself and the other members of

 the Class, prays for the following relief:

         a.      A declaration that Defendant’s practices described herein violate the Telephone

 Consumer Protection Act, 47 U.S.C. § 227;

         b.      A declaration that Defendant’s violations of the Telephone Consumer Protection

 Act, 47 U.S.C. § 227, were willful and knowing;

         c.      An injunction prohibiting Defendant from using an automatic telephone dialing

 system to call and text message telephone numbers assigned to cellular telephones without the

 prior express consent of the called party;

         d.      An award of actual, statutory damages, and/or trebled statutory damages; and

         e.      Such further and other relief the Court deems reasonable and just.

                                            JURY DEMAND

          Plaintiff and Class Members hereby demand a trial by jury.

                             DOCUMENT PRESERVATION DEMAND

         Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

 databases or other itemization of telephone numbers associated with Defendants and the communication

 or transmittal of the text messages as alleged herein.




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 Date: August 23, 2019.

                                               Respectfully submitted,

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